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UNITED STATES DISTRICT COURT

MIDDLE DISTRICT OF FLORIDA
FORT MYERS DIVISION
|
UNITED STATES OF AMERICA i
Vv. CASE NO.: 2:24-mj-1038-NPM

JONATHAN MOYNAHAN LARMORE

/

APPEARANCE BOND AND ORDER SETTING CONDITIONS OF RELEASE

To reasonably assure the appearance of the defendant and the safety of other persons and the community,
the Court hereby ORDERS that defendant’s release is subject to this BOND and the CONDITIONS set
forth herein, Defendant and each surely jointly and severally agree to forfeit the following cash or other
property specified below to the United:States of America if defendant fails to appear as required for any
court proceeding, fails to surrender to serve any sentence imposed as may be noticed or ordered by any
court, or fails to comply with any condition of release set by the Court.

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Type of Bond / Financial Conditions
This is an unsecured bond in the amount of $ 3,000,000.00.
[] This is a secured bond in the amount of $ .O0, secured by:
 $ .00, in cash deposited with the Court.

[] the agreement of the defendant and each surety to forfeit the following cash or other
property (describe the edse or other property, including claims on it — such as a lien,
mortgage, or loan — and attach proof of ownership and value):

If this bond is secured by real property, documents to protect the secured interest may be
filed of record,
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f abail bond with a solvent surety (attach a copy of the bail bond, or describe it and identify
the surety): >

Forfeiture or Release of the Bond

Forfeiture of the Bond. This bond may be forfeited if the defendant does not comply with the conditions
set forth herein. The Court may immediaiely order the amount of the bond surrendered to the United States,
including the security for the bond, if the defendant does not comply with any condition set forth herein.
At the request of the United States, the Court may. order a judgment of forfeiture against the defendant and
each surety for the entire amount of the:bond, including interest and costs,

Release of the Bond. The Court may order this bond ended at any time, This bond will be satisfied and the
security will be released when either: (1) the defendant is found not guilty on all charges; or (2) the
defendant reports to serve a sentence.

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Declarations
Ownership of the Property. 1, the defendant ~ and each surety -- declare under penalty of perjury that:

(1) all owners of the property securing this bond are included on the bond;
(2) the property is not subject to any claims, liens, mortgages, or other encumbrance
except as described above; and
(3) I will not seil the property, allow further claims to be made against it, or do
anything to reduce its; value while this bond is in effect,
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Acceptance. I, the defendant — and each surety — have read this bond and have either read all of the
conditions of release set by the Court or had them explained to me. I agree to this bond,

I, the defendant — and each surety — declare under penalty of perjury that this information is true, See 28
U.S.C. § 1746.

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/ 4 Defendant's si oo

Surety/Property Owner (printed name}: Surety/Property Owner (signature) Date
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Surety/Property Owner (printed name) { . Surety/Property Owner (signature) Date
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Surety/Property Owner (printed name) | Surety/Property Owner (signature) Date
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Surety/Property Owner (printed name) ' Surety/Property Owner (signature) Date
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“eres Conditions of Release

IT IS ORDERED that the defendant’s release is subject to the following standard conditions:

() The defendant must not commit any offense in violation of federal, state, or local law while on
release, ,

(2) The defendant must cooperate.in the collection ofa DNA sample if it is authorized by 42 U.S.C. §
14135a.

(3) The defendant must immediately advise the Court, the Pretrial Services Office (or the supervising
officer), defense counsel, and the U.S. Attorney in writing of any change in address and telephone
number, i |

(4) The defendant must appear at all proceedings as required and must surrender for service of any
sentence imposed as directed. ‘The defendant must next appear in the United States Courthouse
and Federal Building or other location in the Courtroom directed upon notice.

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Additional Conditions of Release

IT IS FURTHER ORDERED that the defendant’s release is subject to the condition(s) marked below:

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-The defendant is placed in the third-party custody of the third-party custodian identified below,

who agrees to: (a) supervise the defendant; (b) use every effort to assure the defendant's
appearance at all court proceedings; and (c) notify the court immediately if the defendant violates
a condition of release or is no longer in the custodian’s custody.

Custodian — Marcia Larmore Custodian (signature) Date

Report as directed by the Pretrial Services Office.

Obtain no passport (or other international travel document) and surrender any existing passport
(active or expired) to the Clerk’s Office no later than 4:00 pm on March 15, 2024.

Maintain or actively seek verifiable employment.

CL] Defendant may not maintain or seek employment in any position that:

(1 Defendant must inform any employer of the existence and nature of the pending
charge(s).

Continue or start an education program.

Refrain from possessing a firearm, destructive device, or other dangerous weapon.
Refrain from any consumption of alcoholic beverages.

Refrain from excessive consumption of alcoholic beverages.

Refrain from any use or unlawful possession of a narcotic drug or other controlled substance in
21 U.S.C. § 802, unless with prior written approval of the Pretrial Services Office or the
supervising officer, or as may be lawfully prescribed in writing by a licensed medical practitioner.

Report as soon as possible to the Pretrial Services Office any contact with law enforcement
personnel, including, but not limited to, any arrest, questioning, or traffic stop.

Abide by the following restriction(s) on personal association:
Defendant must not have contact, directly or indirectly, with
Abide by the following restriction(s) on residence:
Defendant’s residence is restricted to

Notwithstanding this restriction, the Pretrial Services Office or the supervising officer may permit
the defendant to change his or her residence temporarily in response to a genuine emergency
(including, but not limited to, any condition that may threaten the defendant’s life, health, or
safety) until such time as an appropriate motion seeking to modify this residential restriction can
be filed with and resolved by the Court.

Abide by the following restriction(s) on travel:

Defendant’s travel is restricted ot Middle District of Florida, Southern District of Florida,
Southern and Eastern District of New York.

The defendant may also visit defendant’s attorney if outside this area, but only after providing
notification to the Pretrial Services Office or the supervising officer. All other travel must be
approved by the Pretrial Services Office or the supervising officer. Any request to travel outside
the area set forth above must be submitted in writing and approved by the Pretrial Services Office
or the supervising officer at least three (3) days before the date on which travel is to commence.
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A courtesy copy of this written request must also be submitted to the Assistant United States

Attomey assigned to this case. '

The Middle District of Florida consists of the following Florida counties: Baker, Bradford,
Brevard, Charlotte, Citrus, Clay, Collier, Columbia, DeSoto, Duval, Flagler, Glades, Hamilton,
Hardee, Hendry, Hernando, Hillsborough, Lake, Lee, Marion, Manatee, Nassau, Orange, Osceola,
Pasco, Pinellas, Polk, Putnam, Sarasota, St. Johns, Seminole, Sumter, Suwannee, Union, and
Volusia, The Ft. Myers Division consists of the following Florida counties: Charlotte, Collier,
DeSoto, Glades, Hendry, and Lee.

L} Submit to a mental health evaluation or psychiatric evaluation as directed by the Pretrial Services
Office. i

KJ Submit to a mental health evaluation and/or treatment to include crisis counseling, psychiatric
treatment, and/or medication management treatment as determined by the Pretrial Services Office,

&] Participate in a program of inpatient or outpatient substance abuse testing, education, or treatment
if deemed advisable by the Pretrial Services Office and pay a percentage of the fee as determined
by the Pretrial Services Office. ‘| ,

EK Submit to any method of testing required by the Pretrial Services Office or the supervising officer
for determining whether the defendant is using a prohibited substance. Such methods may be

used with random frequency and include urine testing, the wearing of a sweat patch, a remote
alcohol testing system, and/or any form of prohibited substance screening or testing. Defendant
must refrain from obstructing ;or attempting to obstruct or tamper, in any fashion, with the

efficiency and accuracy of any prohibited substance testing.

C] Participate in the following location restriction program and comply with its requirements as
directed, which may include electronic monitoring or location monitoring,

O Curfew: You are resiricted to your residence every day as follows. “Your residence”
means the interior (ie., within the walls) of your house, condominium, or apartment.

C] from to: : or

C] as directed by the Pietrial Services Office or the supervising officer.

Lj} Home Detention: You are restricted to your residence at all times except for employment;
education; religious services; medical, substance abuse, or mental health treatment; attomey
visits; court appearances; court-ordered obligations; or other activities as pre-approved by
the Pretrial Services Officel “Your residence” means the interior (i.¢., within the walls) of
your house, condominium, or apartment.

[|] Home Incarceration: vb are restricted to 24-hour-a-day lock-down at your residence
except for medical necessities and court appearances or other activities specifically
approved by the court. “Your residence” means the interior (i.¢., within the walls) of your
house, condominium, or apartment. Visits to your attorney or to the United States
Attorney’s Office outside of your residence require court approval.

C Stand-Alone Monitoring:! You have no residential curfew, home detention, or home
incarceration restrictions. ; | However, you must comply with the location or travel
restrictions as imposed by: the court. Stand-Alone Monitoring will require electronic
monitoring or location monitoring with global positioning system (GPS) technology.

[] Submit to electronic monitoring jor location monitoring and comply with its requirements as
directed. If Stand-Alone Monitoring is ordered, the Pretrial Services Office must use a GPS
tracking device. Otherwise, the Pretrial Services Office must determine the use of appropriate
location monitoring technology (e.g., a Jand line, voice recognition system, radio frequency
system, cellular monitoring unit, or GPS tracking device). Defendant must refrain from
obstructing or attempting to obstrict or tamper, in any fashion, with the efficiency and accuracy
of any electronic monitoring or location monitoring technology. Defendant must pay all or part

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of the cost of the program based upon Defendant's ability to pay as determined by the Pretrial
Services Office.

C] Avoid and refrain from any unsupervised contact with minors, including any verbal, written,
telephonic, or electronic communication.

L! Avoid and refrain from any contact, directly or indirectly, with any person who is or may be a
victim or witness in the investigation or prosecution, including but not limited to:

L] Avoid and refrain from any contact with any co-defendant(s).

Ci Refrain from visiting any commercial transportation establishments, including but not limited to:
airports; seaports; marinas; commercial bus terminals; train stations; eic. Defendant may not
obtain any travel documents from any such establishments.

[} Defendant must not have any computer or internet access. This includes any cellular telephone,
smart phone, tablet, gaming console, or any other device that has or is capable of internet access.

{} Other condition(s):

ADVICE OF PENALTIES AND SANCTIONS
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

Violating any of the foregoing conditions of release may result in the immediate issuance of a
warrant for your arrest, a revocation of your release, an order of detention, a forfeiture of any bond, and a
prosecution for contempt of court and could result in imprisonment, a fine, or both.

If you commit a federal felony offense while on release, the punishment is an additional prison
term of not more than ten years. For a federal misdemeanor offense, the punishment is an additional prison
term ofnot more than one year. This sentence will be consecutive to (i.e., in addition to) any other sentence
you receive.

It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a
criminal investigation; tamper with a witness, victim, or informant; retaliate or attempt to retaliate against
a witness, victim, or informant; or intimidate or attempt to intimidate a witness, victim, juror, informant, or
officer of the court. The penalties for tampering, retaliation, or intimidation are significantly more serious
if they involve a killing or attempted killing.

If, after release, you knowingly fail to appear as the conditions of release require or to surrender
to serve a sentence, you may be prosecuted for failing to appear or surrender and additional punishment
may be imposed, If you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen
years or more — you will. be fined not more than $250,000 or imprisoned for not more than
10 years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen

years — you will be fined not more than $250,000 or imprisoned for not more than five

years, or both;
(3) any other felony — you will be fined not more than $250,000 or imprisoned not more than

two years, or both;

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(4) a misdemeanor — you will be fined not more than $100,000 or imprisoned not more than
one year, or both.

A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other

sentence you receive. In addition, a failure to appear or surrender may result in the forfeiture of any bond
posted,

Acknowledgments

I acknowledge that I am the defendant in this case, a surety, or a custodian and that I am aware of
the conditions of release, I, the defendant, promise to obey all conditions of release, to appear as directed,
and to surrender to serve any sentence.imposed. I— the defendant, surety, or custodian — am aware of the
penalties and sanctions set forth above, |I swear under penalty of perjury that the above information is true
as it relates to me, and ] agree to the conditions set forth herein. I also state that I have either read all of the
conditions of release imposed on the defendant or they have been explained to me.

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Merle @ LIA (fab rr,
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ui
Surety / Custodian (printed name) i Surety / Custodian (signature) Date

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Surety / Custodian (printed name) ‘ Surety / Custodian (signature) Date

Directions to the United States Marshal

X The defendant is ORDERED released after processing.

[] The United States Marshal is ORDERED to keep the defendant in custody until notified by the
Clerk or Judicial Officer that the defendant has posted bond and/or complied with all other
conditions for release. If still in custody, the defendant must be produced before the appropriate
judicial officer at the time and place specified.

Date: March 14, 2024 aff br Kod fel

Nicholgs P. Mizell
United ‘States Magistrate Judge

